      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 1 of 9 PageID #:1



               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS

    Simon	Solomon	                           ]	
    Plaintiff		                              ]	
    	                                        ]	
    V.		                                     ]	
    	                                        ]	
    LISA	MADIGAN,	in	her	Official	           ]	
    Capacity	as	Attorney	General	of	the	     ]	
    State	of	Illinois;		                     ]	
    The Cook County Board of                 ]	
    Commissioners1;                          ]	
    Cook County Sheriff Thomas Dart          ]	
    in his official capacity as Sheriff of   ]	
    Cook County; and Cook County             ]	
    State’s Attorney Kimberly Fox in         ]	
    her official capacity as Cook            ]	
    County State’s Attorney                  ]	
                                             ]	
    Defendants	                              ]	
                                             ]	

                            COMPLAINT FOR RELIEF

       Plaintiff Simon Solomon [Plaintiff], by and through his Attorney’s having

being affected by certain legislation restricting his constitutional rights and with

the upmost respect for the Defendant public servants and their dedicated service to

the State of Illinois and the County of Cook, presents this complaint against the

Defendants [Defendant], in their official capacities, Illinois Attorney General Lisa

Madigan, The Cook County Board of Commissioners1, Cook County Sheriff Thomas

Dart, and Cook County State’s Attorney Kimberly Fox and allege as follows:




																																																								
1	See	Exhibit	1	for	a	list	of	each	individual	commissioner	Defendant	



	                                                                                      1	
      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 2 of 9 PageID #:2



                                 A. INTRODUCTION

1. This action for deprivation of civil rights under color of law challenges the

    statutory prohibition on concealed carry licensed holders from knowingly

    carrying a firearm on or into any real property under the control of the

    Cook County Forrest Preserve District. [430 ILCS 66/65 (a)(14)] and Cook

    County Ordinance FPDCC Code Section 3-3-6 which prohibits the same conduct.

2. Plaintiff Simon Salomon is a natural person residing in the County of Cook.

    Plaintiff is currently licensed by the State of Illinois to carry a concealed firearm

    pursuant to the Illinois Concealed Carry Act. Plaintiff is 59 years old. On

    4/30/2015 Plaintiff was licensed to carry a concealed weapon and went fishing in

    the Cook County Forrest Preserve. Plaintiff was stopped by the Cook County

    Sheriff Forrest Police in relation to his fishing activity. When questioned

    Plaintiff disclosed that he had a permit to carry and was armed with two

    concealed handguns. Plaintiff was arrested and charged with a violation of 430

    ILCS 66/65 (a)(14). Plaintiff’s cause of action was dismissed after completion of

    community service with no adjudication of guilt, supervision, or finding of guilt.

    [People of The State Of Illinois V. Simon Solomon 15200153105 Circuit Court Of

    Cook County.]

3. The basis for Plaintiff’s challenge is that the legislation prohibits qualified

    private citizens from carrying handguns for the purpose of self-defense in non-

    sensitive areas and otherwise violates the Due Process Clause of United States

    Constitution, the 14th Amendment, The Equal Protection Clause, and the Second




	                                                                                        2	
      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 3 of 9 PageID #:3



    Amendment. Plaintiffs seek a declaratory judgment, injunctive relief, and

    attorney’s fees and costs.

                                  B. JURISDICTION

4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343,

    2201, 2202 and 42 U.S.C. §1983.

5. This Court has personal jurisdiction over each of the Defendants because, inter

    alia, they acted under the color of laws, policies, customs, and/or practices of the

    State of Illinois and/or within the geographic confines of the State of Illinois.

6. Venue is proper pursuant to 28 U.S.C. § 1391 because the Defendants may be

    found in this district, and because the events and omissions giving rise to this

    action are State laws enacted in the State capital and enforced in Cook County

    and local ordinances enacted and enforced in Cook County Illinois.

                                      C. PARTIES

7. Plaintiff Simon Salomon is a natural person residing in the County of Cook.

8. Defendant Attorney General Lisa Madigan is sued in her official capacity as the

    Attorney General of the State of Illinois, responsible for executing and

    administering the laws of the State of Illinois, including [430 ILCS 66/65 (a)(14)].

    Defendant Attorney General Madigan has enforced the challenged laws, customs

    and practices against Plaintiff and is in fact presently enforcing the challenged

    laws, customs and practices against Plaintiff.

9. Defendant Cook County Board of Commissioners are sued in their official

    capacity pursuant their functions under 70 ILCS 810/5 and control over the




	                                                                                       3	
      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 4 of 9 PageID #:4



    forest preserve property in Cook County. Defendant Cook County Board of

    Commissioners has enforced and continues to enforce the challenged laws,

    customs and practices.

10. Defendant Sheriff Thomas Dart is sued in his official capacity in that the

    Sheriff’s police Department are the law enforcement entity for the Forrest

    Preserve, enforced, and continues to enforce the challenged laws, customs and

    practices.

11. Defendant Cook County State’s Attorney Kimberly Fox is sued in her official

    capacity in that she is responsible for executing and administering the laws of

    the State of Illinois and prosecutions for violations of the legislation at issue.

    Kimberly Fox has enforced, and continues to enforce the challenged laws,

    customs and practices.

                                D. CAUSE OF ACTION

12. Plaintiff Simon Salomon is a natural person residing in the County of Cook.

    Plaintiff is currently licensed by the State of Illinois to carry a concealed firearm

    pursuant to the Illinois Concealed Carry Act. Plaintiff is 59 years old. On

    4/30/2015 Plaintiff was licensed to carry a concealed weapon and went fishing in

    the Cook County Forrest Preserve. Plaintiff was stopped by the Cook County

    Sheriff Forrest Police in relation to his fishing activity. When questioned

    Plaintiff disclosed that he had a permit to carry and was armed with two

    concealed handguns. Plaintiff was arrested and charged with a violation of 430

    ILCS 66/65 (a)(14). Plaintiff’s cause of action was dismissed after completion of




	                                                                                        4	
      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 5 of 9 PageID #:5



    community service with no adjudication of guilt, supervision, or finding of guilt.

    [People of The State Of Illinois V. Simon Solomon 15200153105 Circuit Court Of

    Cook County.]

13. The Second Amendment provides

       A well-regulated Militia, being necessary to the security of a free State, the
       right of the people to keep and bear Arms, shall not be infringed. U.S. Const.
       amend. II.

14. The Second Amendment guarantees individuals a fundamental right to carry

    operable handguns in non-sensitive public places for the purpose of self-defense.

15. The Second Amendment “is fully applicable against the States.” McDonald v.

    Chicago, 561 U.S. ___, 130 S. Ct. 3020, 3026 (2010).

16. The States retain the ability to regulate the manner of carrying handguns

    within constitutional parameters; to prohibit the carrying of handguns in

    specific, narrowly defined sensitive places; to prohibit the carrying of arms that

    are not within the scope of Second Amendment protection; and, to disqualify

    specific, particularly dangerous individuals from carrying handguns.

17. The States may not completely ban the carrying of handguns for self-defense,

    deny individuals the right to carry handguns in non-sensitive places, deprive

    individuals of the right to carry handguns in an arbitrary and capricious

    manner, or impose regulations on the right to carry handguns that are

    inconsistent with the Second Amendment.




	                                                                                        5	
      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 6 of 9 PageID #:6



18. 430 ILCS 66/65(a)(14) provides that “A licensee under this Act shall not

    knowingly carry a firearm on or into Any real property under the control of the

    Cook County Forest Preserve District.” See Exhibit 2.

19. FPDCC Code Section 3-3-6 provides, “No unauthorized person shall carry or

    wear under his or her clothes, or concealed about his or her person, any pistol,

    revolver, derringer, bowie knife, dirk knife, or dirk razor, dagger, slingshot,

    metallic knuckles or other dangerous or deadly weapon in or upon any

    preserve***” See Exhibit 3.

                  1. VIOLATION OF THE SECOND AMENDMENT

20. Plaintiff incorporates the allegations 1-19 in support of this paragraph.

21. The Second Amendment “guarantee[s] the individual right to possess and carry

    weapons in case of confrontation.” District of Columbia v. Heller, 554 U.S. 570,

    592 (2008).

22. 430 ILCS 66/65(a)(14) and FPDCC Code Section 3-3-6 is invalid as applied to

    prohibit a citizen of Illinois who is licensed to carry a concealed weapon eligible

    from carrying a loaded and operable firearm for the purpose of self-defense in a

    non-sensitive public place such a Forrest preserve.

23. Furthermore, the prohibitions on concealed carry in all property under control of

    the County Forrest preserve fails to distinguish between sensitive and non-

    sensitive areas. As such it not the least restrictive means necessary to enforce

    the compelling or important government interest which may be asserted by the

    State. It is a flat blanket prohibition on carrying firearms on any property which




	                                                                                         6	
      Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 7 of 9 PageID #:7



    includes non-sensitive places, under the control of the cook county Forrest

    preserve property.

24. FPDCC Code Section 3-3-6 is also invalid in that the prohibitions on concealed

    carry in all preserves fails to distinguish between sensitive and non-sensitive

    areas. As such it not the least restrictive means necessary to enforce the

    compelling or important government interest which may be asserted by the

    State. It is a flat blanket prohibition on carrying firearms on any property which

    includes non-sensitive places.

                            2. VIOLATES DUE PROCESS

25. Plaintiff incorporates the allegations 1-24 in support of this paragraph.

26. 430 ILCS 66/65(a)(14) is invalid in that it is arbitrary and irrational and violates

    the 14th amendment and Federal due process clause. There are 101 other

    counties that are not expressly included in this legislation. There is no logical

    reason and the legislature has not provided a rational basis, nor could they, as to

    why one county is specifically included while the remaining 102 counties are not.

    As such, the means chosen are arbitrary because the inclusion of this county and

    no others is unreasonable, irrational and arbitrary. See People v. Lindner 127

    Ill. 2d 174, 183, 535 N.E.2d 829, 833 (1989). The legislation fails all standards of

    scrutiny.

                     3. VIOLATION OF EQUAL PROTECTION

27. Plaintiff incorporates the allegations 1-26 in support of this section.

28. 430 ILCS 66/65(a)(14) is invalid in that violates equal protection clause of the




	                                                                                       7	
         Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 8 of 9 PageID #:8



    14th amendment and the United States Constitution. The Statute treats

    similarly situated individuals differently and concerns fundamental rights

    relating to use of public properties and the second amendment. Specifically,

    Residents from Cook County whom are licensed to carry concealed weapons and

    whom are entitled to use the public property such as forests preserves are denied

    the right to bear arms for self-defense in their local forest preserve while 101

    other county residents are allowed by State law to do so. There is no rational

    basis for this distinction, no substantial or compelling government interest, and

    the means of advancing this interest are irrational and arbitrary. There is no

    reason Cook County Residents should have to jog or fish in another County in

    order to exercise their right to self-defense while jogging or fishing.

29. The invalidities of the aforesaid statutes, and Defendants’ application of same,

    infringe Plaintiffs’ Second and Fourteenth Amendment Due Process rights and

    damage Plaintiffs in violation of 42 U.S.C. § 1983.

30. Plaintiffs’ injuries are irreparable because Plaintiffs are entitled to enjoy their

    constitutional rights in fact.

                                     E. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for the following relief:

    i.      declaratory judgment that 430 ILCS 66/65(a)(14) and FPDCC Code

            Section 3-3-6 are invalid in that and to the extent that they are applied to

            prohibit private citizens who are otherwise qualified to possess handguns

            from carrying handguns for self-defense in forest preserves;




	                                                                                         8	
          Case: 1:17-cv-06144 Document #: 1 Filed: 08/24/17 Page 9 of 9 PageID #:9



    ii.      injunctive relief restraining Defendants and their officers, agents,

             servants, employees, and all persons in concert or participation with them

             who receive notice of this injunction, from enforcing 430 ILCS 66/65(a)(14)

             and FPDCC Code Section 3-3-6 against private citizens who are otherwise

             qualified to possess handguns;

    iii.     such other and further relief, including further injunctive relief, against

             all Defendants, as may be necessary to effectuate the Court’s judgment or

             otherwise grant relief, or as the Court otherwise deems just and equitable;

             and

    iv.      attorney’s fees and costs pursuant to 42 U.S.C. § 1988.


                                                  /S/ Ilia Usharovich
                                                  Ilia Usharovich, Lead Counsel
                                                  Attorney For Plaintiff
                                                  224 S. Milwaukee Ave Suite G
                                                  Wheeling, Illinois 60090
                                                  Telephone: 847-264-0435
                                                  Facsimile: 224-223-8079
                                                  Service: Ilia@Usharolaw.Com

                                                  /S/ Marshall C. Libert
                                                  Marshall C. Libert
                                                  Attorney For Plaintiff
                                                  38 N. Cass Avenue, 2nd Floor
                                                  Westmont, Illinois 60559
                                                  708-870-2888
                                                  Libertlaw1@Gmail.Com

                                                  /S/ Sheldon Sorosky
                                                  Sheldon Sorosky
                                                  Attorney For Plaintiff
                                                  717 N Ridge Road
                                                  Wilmette, Illinois 60091
                                                  312-404-2600



	                                                                                          9	
